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IN THE UNITED STATES DISTRICT COURT

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FOR THE WESTERN DISTRICT OF TENNESSEEUE rim \f _9 pm {: 0 l
WESTERN DIVISION
RGEEFIT a"%. ' i‘"‘
THE CLARK CONSTRUCTION ) CLF;P.:“<L_L_!_.:'B. " t . .
GROUP’ INC., ) l.-‘Ufl). C'f" li'*i. l'.' \ ‘ "
)
Plaintiff, )
)
v. ) NO. 01-2780 Ma/An
)
CITY OF MEMPHIS and THE )
MEMPHIS COOK CONVENTION )
CENTER COMMISSION, )
)
Defendants. )

 

ORDER GRANTING EMERGENCY MOTION TO COMPEL
DOCUMENT PRODUCTION

 

Before the Court is Plaintiff’$ Emergency Motion to Cornpel Document Production filed

on March ll, 2005. United States District Judge Samuel H. Mays, Jr. referred this matter to the

Magistrate Judge for determination The Court held a hearing on this matter on March 22, 2005.

For the reasons set forth below, the Motion is GRANTED.
M.QIM
Plaintiff filed the instant Ernergency Motion to Compel requesting that the Court compel

Defendants the City of Memphis and the Memphis Cook Convention Center Commission

(collectively “the City”) to produce documents Specilica]ly, the requested documents are related

to services provided by the Pearson Management Group (“Pearson”) for the City’s on~site

representative at the Convention Center proj ect, the Hdenak Bobo Group (“HBG”). The

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requested documents include scheduling documents and reports prepared during the course of the
project

Clark served With the City With its First Request for Production of Documents on May
28, 2003 and its Second Request for Production of Documents on June 2, 2004. Clark argues
that “[t]he City screened the third party production ofHBG and Withheld certain documents
related to the services of Pearson (the “Pearson documents”) from production Without identifying
the Withheld documents or listing them on any privilege log.” (Mot. to Compel, at 2). As such,
the City refused to provide any Pearson documents to Clark, even though Clark requested access
to the documents Clark argues, however, that the City used the Pearson documents during the
project, including When the City calculated damages in this case. (See id. at 4).

In response to the Motion, the City argues that Clark is not entitled to the Pearson
documents because Pearson is a litigation consultant that is entitled to protection under Rule
26(b)(4)(B). Therefore, the City argues that unless an individual such as Pearson is identified as
an expert who will testify at trial, the City should not be required to produce the Pearson
documents At the time the Court held a hearing on this Motion, the City had not determined if
someone at Pearson Would be declared a testifying expert in this case. However, since the
hearing, the City declared two individuals from Pearson as testifying experts As a result of the
City’s decision to declare the individuals as experts, the City produced four memoranda to Clark.
Clark does not consider the instant motion is moot, since it believes there could be other Pearson

documents the City failed to disclose

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ANALYSIS

“Parties may obtain discovery regarding any matter, not privileged, that is relevant to the
claim or defense of any party . . . .” Fed. R. Civ. P. 26(b)(1). Relevancy means that the evidence
“appears reasonably calculated to lead to the discovery of admissible evidence.” Fed. R. Civ. P.
26(b)(l); see also Coleman v. Am. Red Cross, 23 F.3d 1091, 1097 (6th Cir. 1994). The Court
should broadly interpret whether evidence is relevant. See Oppenhez'mer Funa’, ]nc. v. Sanders,
437 U.S. 340, 351 n.12 (1978) (quoting 4 .l. Moore, Federcrl Practice § 26.96[1], at 26-131 n.34
(2d ed. 1976)). In this Circuit, the scope of discovery is extremely broad under the Federal Rules
of Civil Procedure and “is . . . within the broad discretion of the trial court.” Lewt`s v. ACB
Business Servs. Inc., 135 F.3d 389, 402 (6th Cir. 1998). The United States Supreme Court has
also noted that discovery should be both broad and liberal. See Schlagenhaufv. Hola'er, 379 U.S.
104. 114-15 (1964) (citing Hz`c/aaan v. Taylor, 329 U.S. 495, 507 (1947)).

Clark’s motion requests that the City be required to produce all Pearson documents that it
relied on or considered during the project. C]ark argues that while the City produced four
memoranda when the parties exchanged expert reports, Clark is “uncertain What materials
beyond the four memoranda Were provided to the City.” Clark therefore requests that the City be
required to produce any Pearson documents in its possession, custody or control.

Because the individuals from Pearson will be testifying experts, the Court concludes that
Fed. R. Civ. P. 26 requires the City to produce all documents that the City relied on during the
project. Therefore, because the scope of discovery is broad in this Circuit and for good cause
shown, Plaintiff’ s Motion to Compel is GRANTED. The City should produce all Pearson-

related documents in its possession custody or control Within 15 days of entry of this Order.

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Pursuant to the Order of Reference, any objections to this Order shall be made in Writing
within ten days after service of this Order and shall set forth with particularity those portions of

the Order objected to and the reasons for those objections

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S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

IT IS SO ORDERED.

Date: w 09/ ZOQJ/

   

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Daniel Warren Van Horn
ARMS TRONG ALLEN, PLLC
80 Monroe Avenue

Ste. 700

1\/lemphis7 TN 38103--246

.leffrey R. Gans

THELEN RElD & PRIEST LLP
701 Pennsylvania Ave.7 N.W.
Ste. 800

Washington, DC 20004

.lohn W. Ralls

THELEN RElD & PRIEST
101 Second Street

18th Fl.

San Francisco, CA 94105

Michael Evan .laffe

THELEN RElD & PRIEST LLP
701 Pennsylvania Ave.7 N.W.
Ste. 800

Washington, DC 20004

Lucian T. Pera

ARMS TRONG ALLEN, PLLC
80 Monroe Avenue

Ste. 700

1\/lemphis7 TN 38103--246

Ricky E. Wilkins

LAW OFFICE OF RICKY E. WILKINS
119 S. Main St.

Ste. 700

1\/lemphis7 TN 38103

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Christopher M. Caputo
LESS GETZ & LIPMAN
100 Peabody Place

Ste. 1000

1\/lemphis7 TN 38103

.l ames R. Nevvland

THELEN RElD & PRIEST
Market Square

Ste. 800

701 Pennsylvania Ave.7 N.W.
Washington, DC 20004

Michael I. Less

LESS GETZ & LIPMAN
100 Peabody Place

Ste. 1000

1\/lemphis7 TN 38103

Timothy R. Johnson

BASS BERRY & SIMS PLC- Memphis
100 Peabody Place

Ste. 900

1\/lemphis7 TN 38103

Taylor Cates

BURCH PORTER & JOHNSON
130 N. Court Avenue

1\/lemphis7 TN 38103

Albert C. Harvey

THOMASON HENDRIX HARVEY JOHNSON & MITCHELL
40 S. Main St.

Ste. 2900

1\/lemphis7 TN 38103--552

William M. Jeter

LAW OFFICE OF WILLIAM .TETER
35 Union Ave.

Ste. 300

1\/lemphis7 TN 38103

.loseph T. Getz

LESS GETZ & LIPMAN
100 Peabody Place

Ste. 1000

1\/lemphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

